Case:17-03283-LTS Doc#:19226-1 Filed:11/15/21 Entered:11/15/21 18:36:03   Desc:
                           Exhibit A Page 1 of 4



                                 EXHIBIT A

                    Certification of Jorge Marchand Sifre
Case:17-03283-LTS Doc#:19226-1 Filed:11/15/21 Entered:11/15/21 18:36:03                            Desc:
                           Exhibit A Page 2 of 4



                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO


    In re:                                                    PROMESA
                                                              Title III
    THE FINANCIAL OVERSIGHT AND
    MANAGEMENT BOARD FOR PUERTO                               No. 17 BK 3283-LTS
    RICO,
                                                              (Jointly Administered)
              as representative of

    THE COMMONWEALTH OF PUERTO RICO,
    et al.

                             Debtors.1


                           VERIFIED CERTIFICATION OF
                        JORGE MARCHAND SIFRE IN SUPPORT
             OF THE THIRTEENTH INTERIM APPLICATION OF MARCHAND ICS
              GROUP FOR ALLOWANCE OF COMPENSATION FOR SERVICES
               RENDERED AND REIMBURSEMENT OF EXPENSES INCURRED
               AS INFORMATION AGENT TO THE OFFICIAL COMMITTEE OF
              RETIRED EMPLOYEES OF THE COMMONWEALTH OF PUERTO
                 RICO FROM JUNE 1, 2021 THROUGH SEPTEMBER 30, 2021


         I, Jorge Marchand Sifre, hereby declare that the following is true and correct to the best of

my knowledge, information, and belief:




1
  The Debtors in these jointly-administered PROMESA title III cases, along with each Debtor’s respective
title III case number listed as a bankruptcy case number due to software limitations and the last four (4)
digits of each Debtor’s federal tax identification number, as applicable, are: (i) Commonwealth of Puerto
Rico (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico
Sales Tax Financing Corporation (Bankruptcy Case No. 17 BK 3284) (Last Four Digits of Federal Tax ID:
8474); (iii) Puerto Rico Highways and Transportation Authority (Bankruptcy Case No. 17 BK 3567-LTS)
(Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of the
Commonwealth of Puerto Rico (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax
ID: 9686); (v) Puerto Rico Electric and Power Authority (Bankruptcy Case No. 17 BK 4780) (Last Four
Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (Bankruptcy Case No. 19
BK 5523-LTS) (Last Four Digits of Federal Tax ID: 3801).
Case:17-03283-LTS Doc#:19226-1 Filed:11/15/21 Entered:11/15/21 18:36:03                       Desc:
                           Exhibit A Page 3 of 4



          1.   I am the founder and principal of Marchand ICS Group (“Marchand”) which

provides communications consulting. Marchand has more than two decades of experience

providing strategic communications consulting services for a wide array of clients across dozens

of industries. I am currently resident in Marchand’s San Juan office, located at the Marvel &

Marchand Architects Bldg., 161 San Jorge St., Suite 402-E, San Juan, Puerto Rico 00911.

          2.   I am authorized to submit this certification in support of the Thirteenth Application

of Marchand ICS Group for Allowance of Compensation for Services Rendered and

Reimbursement of Expenses Incurred Information Agent to the Official Committee of Retired

Employees of the Commonwealth of Puerto Rico from June 1, 2021 through September 30, 2021

(the “Application”). Except as otherwise noted, I have personal knowledge of the matters set forth

herein.

          3.   I have read the Application. The statements contained in the Application are true

and correct according to the best of my knowledge, information, and belief.

          4.   To the best of my knowledge, information, and belief, formed after reasonable

inquiry, the fees and disbursements sought in the Application are permissible under the Puerto

Rico Oversight, Management, and Economic Stability Act (“PROMESA”), 48 U.S.C. §§ 2101–

2241; the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”); the Bankruptcy

Rules for the United States Bankruptcy Court for the District of Puerto Rico (the “Local Rules”);

the Court’s Order Establishing Procedures for Retiree Access to Information Pursuant to 11

U.S.C. §§ 105(a), 1102(b)(3), and 1103(a), and (II) Employing Marchand ICS Group (“Retention

Order”) [Dkt. No. 1415]; the Court’s Second Amended Order Setting Procedures for Interim

Compensation and Reimbursement of Expenses of Professionals [Dkt. No. 3269]; and the United

States Trustee’s Guidelines for Reviewing Applications for Compensation and Reimbursement of


                                                 2
Case:17-03283-LTS Doc#:19226-1 Filed:11/15/21 Entered:11/15/21 18:36:03                     Desc:
                           Exhibit A Page 4 of 4



Expenses Filed Under 11 U.S.C. § 330 by Attorneys in Large Chapter 11 Cases Effective as of

November 1, 2013.

       5.      The fees and disbursements sought in the Application are billed at rates Marchand

customarily employs and Marchand clients generally accept in matters of this nature.

       6.      None of the professionals seeking compensation varied their hourly rate based on

their geographic location.

       7.      Marchand is not seeking compensation for this Interim Period for time spent

reviewing or revising time records or preparing, reviewing, or revising invoices.

       8.      Marchand does not make a profit on costs or expenses for which it seeks

reimbursement, whether the service is performed by Marchand in-house or through a third party.

       9.      In accordance with Rule 2016(a) of the Bankruptcy Rules and 11 U.S.C. § 504, no

agreement or understanding exists between Marchand and any other person for the sharing of

compensation to be received in connection with the Title III Cases except as authorized by

PROMESA, the Bankruptcy Rules, and the Local Rules.

       10.     All services for which compensation is sought were professional services rendered

to the Retiree Committee and not on behalf of any other person.

       11.     The Retiree Committee was provided with a copy of the Application before it was

filed with the Court and does not object to the relief requested therein.

       I certify under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information, and belief formed after reasonable inquiry.

Executed on November 15, 2021

                                                              /s/ Jorge Marchand Sifre
                                                              Jorge Marchand Sifre



                                                  3
